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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------X
                                                              :
 GLOBAL GAMING PHILIPPINES, LLC,                              :
                                            Plaintiff,        :    21 Civ. 2655 (LGS)
                                                              :
                            -against-                         :        ORDER
                                                              :
 ENRIQUE K. RAZON, JR., et al.,                               :
                                            Defendants. :
 -------------------------------------------------------------X

LORNA G. SCHOFIELD, District Judge:

         WHEREAS, the Case Management Plan and Scheduling Order, issued May 13, 2021,

scheduled a conference following the close of discovery regarding contemplated dispositive

motions. An Order issued October 7, 2022, adjourned this conference to January 4, 2023.

         WHEREAS, on April 18, 2022, Defendant Enrique Razon Jr. (“Razon”) filed a motion to

dismiss Count V of the Second Amended Complaint (the “Trespass Claim”). This motion

remains pending.

         WHEREAS, on November 15, 2022, Plaintiff filed two motions in limine to exclude

expert reports and testimony offered by Defendants Bloomberry Resorts and Hotels Inc. and

Sureste Properties Inc. (the “Debtor Defendants”).

         WHEREAS, on December 12, 2022, the parties filed letters describing their anticipated

motions for summary judgment and associated motions regarding expert testimony and other

evidentiary matters. On December 19, 2022, the parties filed letters in response to each other’s

pre-motion letters.

         WHEREAS, on December 19, 2022, Plaintiff filed a letter motion to file information

contained within their response to Defendants’ pre-motion letters under seal. The letter sought to

file information under seal pursuant to the Stipulated Confidentiality Order in place in this
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action. Individual Rule I.D.3 requires a party with an interest in confidential treatment to file a

letter within two business days of the filing of a motion to file under seal explaining why sealing

is appropriate. Plaintiff’s letter identified Defendants as the parties with an interest in

confidential treatment who bear the burden of persuasion. No Defendant has filed a letter in

support of the motion to seal. It is hereby

       ORDERED that the case management conference scheduled for January 4, 2023, is

CANCELLED. It is further

       ORDERED that Plaintiff’s motion to recognize and enforce the foreign arbitral award

against Debtor Defendants and Debtor Defendants’ cross-motion for summary judgment on the

claims relating to enforcement, including the defense of lack of personal jurisdiction, shall be

briefed on the following schedule:

   •   By January 25, 2023, Plaintiff shall file its motion to recognize and enforce the foreign

       arbitral award.

   •   By February 22, 2023, Debtor Defendants shall file their opposition and any related

       cross-motion for summary judgment.

   •   By March 22, 2023, Plaintiff shall file its reply in support of its motion and its

       opposition to Debtor Defendant’s motion.

   •   By April 5, 2023, Debtor Defendants shall file their reply in support of their motion.

Plaintiff and the Debtor Defendants are each limited to fifty (50) pages of briefing in total, which

they may allocate as they wish between the two memoranda of law. Plaintiff’s request for

additional exhibits to respond to the personal jurisdiction defense is granted in part and denied in

part as follows: each side may file a maximum of 225 pages of exhibits in total for the foregoing

motions and cross motions regardless of the total number of exhibits. It is further
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          ORDERED that Razon’s motion for summary judgment and Plaintiff’s cross-motion for

summary judgment with respect to any claims against Razon shall be briefed on the following

schedule:

   •      By January 25, 2023, Razon shall file his motion for summary judgment.

   •      By February 22, 2023, Plaintiff shall file its opposition and cross-motion for summary

          judgment.

   •      By March 22, 2023, Razon shall file his reply in support of his motion and his opposition

          to Plaintiff’s motion.

   •      By April 5, 2023, Plaintiff shall file its reply in support of its motion.

Plaintiff and Razon are limited to fifty (50) pages of briefing in total, which they may allocate as

they wish between the two memoranda of law. It is further

          ORDERED that Plaintiff’s previously-filed motions to exclude the expert testimony of

Catherine Rogers and to exclude the Spectrum Report are DENIED, without prejudice to

renewal. Plaintiff’s motions to exclude expert testimony from Debtor Defendants’ experts shall

be briefed on the following schedule:

   •      By February 22, 2023, Plaintiff shall re-file the motions as one motion to exclude expert

          testimony.

   •      By March 22, 2023, Debtor Defendants shall file their opposition.

No reply shall be filed. Each memorandum of law shall not exceed twenty pages in total. It is

further

          ORDERED that Defendant Razon’s motion to exclude expert testimony from Plaintiff’s

expert, Troy Dahlberg, shall be briefed on the following schedule:

   •      By February 22, 2023, Razon shall file the motion.
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   •      By March 22, 2023, Plaintiff shall file its opposition.

No reply shall be filed. Each memorandum of law shall not exceed ten pages in total. It is

further

          ORDERED that for all of the foregoing motions, any expert report (or portions of an

expert report) filed as an exhibit shall count toward the page total. Any party that files portions

of an expert report or deposition as an exhibit shall provide the Court with an electronic, text-

searchable courtesy copy of the entire document, which will not count toward the page total.

The parties shall email Schofield_NYSDChambers@nysd.uscourts.gov requesting a link to

upload such a courtesy copy. The parties shall not file or provide multiple copies of the entirety

of any expert report, even if relevant to multiple motions. It is further

          ORDERED that, except as provided above, the parties shall follow the Court’s

Individual Rules regarding these motions, including limitations regarding exhibits.

          ORDERED that the parties’ motions for summary judgment and opposition shall

incorporate any relevant evidentiary objections. The parties shall not file a separate motion

regarding any such objection. It is further

          ORDERED that the parties shall brief their respective motions for summary judgment

aware that the Trespass Claim survives Razon’s pending motion to dismiss. A decision is

forthcoming and will be issued in January. It is further

          ORDERED that Plaintiff’s motion to file under seal portions of its letter in response to

Defendants’ pre-motion letters is DENIED. The parties are reminded that a presumption of

public access applies to judicial records and that a party’s designation of a document as

confidential does not, in and of itself, rebut this presumption.
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       The Clerk of Court is respectfully directed to close the motions at Dkt. 299 and Dkt.

302, and to unseal the document at Dkt. 319.

Dated: December 30, 2022
       New York, New York
